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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF SOUTH DAKOTA
                                  CENTRAL DIVISION


 In Re:                                                           Case No. 05-30027

                                                                      Chapter 11
 Si Tanka University,
                                                        UNITED STATES TRUSTEE'S
                                        Debtor.       MOTION TO DISMISS OR CONVERT
                                                        TO CHAPTER 7 PROCEEDING


       The United States Trustee hereby moves the Court for an Order dismissing or converting
this case to a Chapter 7 proceeding. The grounds for this motion are cause, as required by 11
U.S.C. §1112(b). In support of his motion, the United States Trustee states:
       1. Debtor's Chapter 11 Bankruptcy was filed on April 9, 2005. By a motion to extend
exclusivity period, the Debtor’s exclusivity period was extended to October 14, 2005. The
Debtor filed a subsequent extension motion which was withdrawn.
       2. The Debtor has failed to file its monthly operating report for December, 2005 with the
United States Trustee as required by 11 U.S.C. §§ 704(8), 1106(a)(1), 1107(a) and Federal Rule
of Bankruptcy Procedure 2015(a)(3). Failure to file operating reports constitutes cause for
dismissal. See In re Wilkins Investment Group, Inc., 171 B.R. 194, (Bankr. M.D. Pa. 1994)
citing Matter of Berryhill, 127 B.R. 427 (Bankr. N.D. Ind. 1991; In re McClure, 69 B.R. 282
(Bankr. N.D. Ind. 1987); In re Chesmid Park Corp., 45 B.R. 153 (Bankr. E.D. Va. 1984); and In
re Modern Office Supply, Inc., 28 B.R. 943, 945 (Bankr. W.D. Okl. 1983).
       3. The Debtor has failed to provide the United States Trustee with a copy of its Bank
Account Reporting Form which would list all bank accounts that it had open on date of filing,
and all accounts that were opened post-petition.
       4. The Debtor has failed to provide the United States Trustee with proof that all assets of
the Debtor are insured, and that there is adequate liability insurance in place to protect the
bankruptcy estate. Upon information and belief, the Debtor’s insurance policy on its personal
property expired on January 1, 2006, and the Debtor did not cure the default by January 16, 2006
as required by the policy. Failure to maintain insurance is a breach of the Debtor’s fiduciary duty
to protect the estate assets. See In re Martin Custom Made Tires, Corp., 108 F.2d 172 (2nd
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Cir.1939) (Debtor in possession has fiduciary duty to preserve assets of estate for benefit of
creditors). See also In re Cohoes Industrial Terminal, Inc., 65 B.R. 918 (Bankr. S.D.N.Y.
1986)(inability to maintain adequate insurance to protect estate property is cause for dismissal or
conversion).
       5. It appears that there has been a continuing loss or diminution of the estate and that
there is no reasonable likelihood of rehabilitation. The Debtor has not paid its withholding taxes
to the IRS for the first quarter of 2004 in violation of its agreement to provide adequate
protection. According to a new account in the Eagle Butte newspaper, Si Tanka University is no
longer offering classes on its campus. No new students were registered for the spring semester,
and those students who were attending will be offered the opportunity to take classes through
cooperating schools. The newspaper also reported that most employees are gone, and those who
are left are working with minimal heat and equipment.
       6. Once the Court determines that cause exists to dismiss or convert this case, it should
consider the best interests of creditors and the estate before deciding whether to dismiss or
convert the case. In re Mazzocone, 180 B.R. 782, 785 (E.D.Pa.1995). According to Debtors’
schedules, it has total assets of $331,214.22 and total liabilities of $5,631,999.15. There do not
appear to be any unencumbered assets that would be available for creditors in a liquidation. The
United States Trustee believes that dismissal of this case would be in the best interests of the
creditors and the bankruptcy estate.
       WHEREFORE, the United States Trustee moves the Court for an Order dismissing this
case. The United States Trustee further requests that the Order dismissing this case include a
directive for the Debtor to file any delinquent monthly operating reports and pay any delinquent
quarterly fees and for such other relief as the Court deems just and proper.

                                                      HABBO G. FOKKENA
                                                      UNITED STATES TRUSTEE
                                                      Region 12

Dated: January 27, 2006                               BY: /s/ BRUCE J. GERING
                                                       Bruce J. Gering
                                                       Assistant U.S. Trustee
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